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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES – GENERAL
 No.             5:19-cv-00429-ODW (SHKx)                             Date    September 29, 2021
 Title           Kawasaki Corley et al. v. FedEx Ground Package System, Inc.



 Present: The Honorable          Otis D. Wright, II, United States District Judge
                Sheila English                             Not reported                    N/A
                Deputy Clerk                       Court Reporter / Recorder             Tape No.
          Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                     Not present                                          Not present
 Proceedings (In Chambers):                   Order STRIKING Motion for Class Certification
                                              [54] and DENYING Motions to Exceed Page
                                              Limitations [61] [66]

       An oversight regarding a local formatting rule has spawned a hydra of briefing regarding
the page limits for Plaintiff’s class certification motion. FedEx is correct that Plaintiff violated
Local Rule 11-3.6 by single-spacing block quotations in the memorandum supporting the
Motion for Class Certification. C.D. Cal. L.R. 11-3.6; see also ODW Courtroom Rules
§ VII.A.3 (“Filings that do not conform to the Local Rules and this Order will not be
considered.”). By contrast, FedEx has not shown good cause to materially increase the page
limit for its Opposition to Plaintiff’s Motion for Class Certification.

       Separately, the Court recently noted that the unsealed, unredacted versions of Exhibits
17, 20, and 23 were improperly formatted, causing portions of the Exhibits to be significantly
cut off. (Not. Filer Deficiencies, ECF No. 64.)

         Accordingly, the Court orders as follows.

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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL
 No.            5:19-cv-00429-ODW (SHKx)                                 Date   September 29, 2021
 Title          Kawasaki Corley et al. v. FedEx Ground Package System, Inc.

         (1) Plaintiff’s Motion for Class Certification (ECF No. 54) is ordered STRICKEN for
             violation of Local Rule 11-3.6 regarding spacing. The December 6, 2021 hearing is
             VACATED. Plaintiff has fourteen (14) days from the date of this Order to file a
             corrected motion. The corrected motion shall comply with Local Rule 11-3.6.
             Counsel’s signature block must also fit within the page limit.
         (2) No additional Application to Seal is required. The Exhibits filed at ECF No. 63
             remain part of the record. That said, certain parts of the unsealed, unredacted Exhibits
             at ECF No. 63 appear truncated due to improper formatting, whereas the sealed,
             unredacted versions of the Exhibits (at ECF No. 57) are properly formatted.
             Therefore, Plaintiff is ORDERED to re-file (concurrently with the corrected motion)
             unsealed, unredacted versions of these Exhibits that are properly formatted and
             identical to those found at ECF No. 57.
         (3) FedEx’s Motion to Exceed Page Limitation is DENIED. (ECF No. 61.)
         (4) Plaintiff’s Motion to Exceed Page Limitation is DENIED. (ECF No. 66.)
         (5) In regard to the class certification motion, no modifications of page limitations are
             granted, and no further requests will be entertained. The parties shall limit the size of
             their class certification briefs in accordance with the Local Rules and the ODW
             Courtroom Rules.

         IT IS SO ORDERED.
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                                                  Initials of Preparer   SE




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